 8:05-cr-00190-JFB-FG3             Doc # 93   Filed: 01/27/06    Page 1 of 1 - Page ID # 283



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             Case No. 8:05CR190
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
TROY HANSEN,                                  )
                                              )
                      Defendant.              )


       Before the court is defendant's Motion to Continue Self-Surrender Date (Filing No. 87). The
government has indicated to defense counsel that it has no objection to the motion.
       THEREFORE, IT IS ORDERED that defendant's Motion to Continue is granted. The
defendant is given a continuance until March 28, 2006, in which to self-surrender to the Bureau of
Prisons.
       DATED this 27th day of January, 2006.
                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
